Case 2:24-cv-00344-RJS Document 66 Filed 05/06/25 PageID.1615 Page 1 of 2
    Appellate Case: 25-4057 Document: 1-2 Date Filed: 05/06/2025 Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                          Jane K. Castro
Clerk of Court                                                              Chief Deputy Clerk
                                        May 06, 2025


 Mr. Frank Hedin
 Hedin Law Firm
 1395 Brickell Avenue, Suite 610
 Miami, FL 33131

 RE:       25-4057, Arnstein, et al v. Sundance Holdings Group, L.L.C.
           Dist/Ag docket: 2:24-CV-00344-RJS-DAO

Dear Counsel:

Your appeal has been docketed, and the appeal number is above.

Within 14 days from the date of this letter, Appellant’s counsel must electronically file:

    •   An entry of appearance and certificate of interested parties per 10th Cir. R.
        46.1(A) and (D).
    •   A docketing statement per 10th Cir. R. 3.4.
    •   A transcript order form or notice that no transcript is necessary per 10th Cir.
        R. 10.2. This form must be filed in both the district court and this court.
    •   OPTIONAL FEE PARAGRAPH: Also within 14 days, Appellant must pay the
        $605.00 filing and docketing fees ($5.00 filing fee and $600.00 docket fee) in the
        district court. Fed. R. App. P. 3(e) and 10th Cir. R. 3.3(B).

In addition, all counselled entities that are required to file a Federal Rule of Appellate
Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
26.1 for applicable disclosure requirements. All parties required to file a disclosure
statement must do so even if there is nothing to disclose. Rule 26.1 disclosure statements
must be promptly updated as necessary to keep them current.
Case 2:24-cv-00344-RJS Document 66 Filed 05/06/25 PageID.1616 Page 2 of 2
    Appellate Case: 25-4057 Document: 1-2 Date Filed: 05/06/2025 Page: 2
Also within 14 days, Appellee’s counsel must electronically file an entry of appearance
and certificate of interested parties. Attorneys that do not enter an appearance within
the specified time frame will be removed from the service list.

The Federal Rules of Appellate Procedure, the Tenth Circuit Rules, and forms for the
aforementioned filings are on the court’s website. The Clerk’s Office has also created a
set of quick reference guides and checklists that highlight procedural requirements for
appeals filed in this court.

Please contact this office if you have questions.

                                            Sincerely,



                                            Christopher M. Wolpert
                                            Clerk of Court



 cc:      Jordan Kevin Cameron
          Elizabeth Rinehart



 CMW/at
